     Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 1 of 36 Page ID #:1



1      THE HAHN LEGAL GROUPAPC
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       2361 Rosecrans Avenue, Suite 373
4      El Segundo, California 90245
       T:(310)706-3400/F:(310)706-3440
5
6      Attorneys for Defendant
       TARGET CORPORATION
7
8                            UNITED STATES DISTRICT COURT

9                CENTRAL DISTRICT OF CALIFORNIA –EASTERN DIVISION
10
11
        MARIA GAVILANES, an                     CASE NO: 5:20-cv-20-02645
12      individual,
                                                The Hon.
13                    Plaintiff,                Magistrate Judge:

14         vs.                                  NOTICE OF REMOVAL OF ACTION
                                                UNDER 28 U.S.C. §1441(A) AND (B)
15      TARGET CORPORATION, a                   [DIVERSITY OF CITIZENSHIP
        Minnesota corporation; DOES 1           JURISDICTION]; 28 U.S.C §1446; 28
16      through 50, inclusive,                  U.S.C. §1332

17                    Defendants.               Action Filed:
                                                Trial Date:
18
19           TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
20     DISTRICT OF CALIFORNIA AND TO THE PLAINTIFF AND HER
21     ATTORNEYS OF RECORD:
22           PLEASE TAKE NOTICE THAT Defendant TARGET CORPORATION
23     (“Target”), by and through its counsel of record, hereby gives notice of the
24     removal of this action from the California Superior Court, County of San
25     Bernardino where this case is now pending, to the above-entitled Court, the United
26     States District Court, Central District of California. This removal is made pursuant
27
28
                                                                      NOTICE OF REMOVAL
                                                                     Case No. 5:20-cv-20-02645

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                                               1   to 28 U.S.C. §§1441, 1332, 1446(b)(3), and 1446(c)(3)(A). In support thereof,
                                               2   Target states as follows:
                                               3                                Timeliness of Removal
                                               4          1.    On May 29, 2020, Plaintiff, MARIA GAVILANES (“Plaintiff”) filed
                                               5   an action in the Superior Court of California, County of San Bernardino, Case No.
                                               6   CIVDS2010176, entitled Maria Gavilanes v. Target Corporation and DOES 1 to
                                               7   50 inclusive (“Complaint”). A true and correct copy of the conformed Complaint
                                               8   is attached hereto as Exhibit “A.” Plaintiff contends she slipped and fell at a
                                               9   Target store at or near 9052 Central Ave., Montclair, CA 91763 and sustained
                                              10   injuries.
                                              11          2.    According to Plaintiff’s Statement of Damages, as of November 19,
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                              12
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                                                   2020, her medical specials were $50,000.00. Plaintiff also seeks recovery for future
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        El Segundo, California 90245




                                              13   medical specials in the amount of $500,000.00, loss of earnings to date of
                                              14   $50,000.00, loss of future earning capacity of $500,000.00, and possibly property
                                              15   damage totaling $25,000.001. Plaintiff further contends she is making claims for
                                              16   general damages, including $1,000,000.00 for pain, suffering, and inconvenience,
                                              17   and $1,000,000.00 for emotional distress. A true and correct copy of the Statement
                                              18   of Damages is attached hereto as Exhibit “B.”
                                              19          3.    Target received a copy of the Summons and Complaint after it was
                                              20   served on Target’s California agent for service of process on November 24, 2020.
                                              21   A true and correct copy of the Service of Process Transmittal is attached hereto as
                                              22   Exhibit “C.”
                                              23          4.    This Notice of Removal is timely filed pursuant to 28 U.S.C. §§
                                              24   1332(a), 1446(b), and FRCP 6(a), in that it is filed within thirty (30) days after
                                              25   Target was served with the Complaint.
                                              26   1
                                                    While the Statement of Damages quantifies property damage of $25,000.00, the
                                              27   box next to Property Damage is not checked.
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                                                                                                                  NOTICE OF REMOVAL
                                                                                                                 Case No. 5:20-cv-20-02645
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                                               1                                  Diversity of Citizenship
                                               2            5.    This Court has original jurisdiction over this action under 28 U.S.C. §
                                               3   1332 because it is a civil action between citizens of different states and the matter
                                               4   in controversy exceeds the sum or value of $75,000.00, exclusive of interest and
                                               5   costs. Accordingly, this action may be removed to this Court by Defendant under
                                               6   28 U.S.C. § 1441(b).
                                               7            6.    Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be
                                               8   a citizen of every State and foreign state by which it has been incorporated and of
                                               9   the State or foreign state where it has its principal place of business.”
                                              10            7.    Plaintiff is an individual residing in the State of California with her
                                              11   primary residence located in or about Montclair, in San Bernardino County.
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                                              12
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                                                            8.    Defendant Target is a Minnesota corporation with its principal place
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        El Segundo, California 90245




                                              13   of business in Minnesota. (Declaration of Adrienne R. Hahn ¶5, a true and copy of
                                              14   which is attached hereto as Exhibit “D.”)
                                              15            9.    The citizenship of the “Doe” Defendants is not considered in
                                              16   determining diversity for purposes of removal. See 28 U.S.C. § 1446(a).
                                              17            10.   Complete diversity of citizenship exists between the parties within the
                                              18   meaning of 28 U.S.C. § 1332 because Plaintiff is a citizen of California and
                                              19   Defendant Target is a “citizen” of Minnesota.
                                              20                                  Amount in Controversy
                                              21            11.   Pursuant to 28 U.S.C. § 1332(a), District Courts have original
                                              22   jurisdiction over all civil actions between citizens of different states where the
                                              23   matter in controversy exceeds the sum of $75,000.00, exclusive of interest and
                                              24   costs.
                                              25            12.   The Complaint does not set forth the amount in controversy because
                                              26   “California prohibits plaintiffs from setting out a monetary ad damnum….” Singer
                                              27

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                                                                                                                     NOTICE OF REMOVAL
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                                               1   v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 375-77 (9th Cir. 1997) (citing Cal.
                                               2   Code. Civ. Pro. § 425.10(b)).
                                               3          13.   “The district Court may consider whether it is ‘facially apparent’ from
                                               4   the Complaint that the jurisdictional amount is in controversy.” Singer, 115 F.3d at
                                               5   377.
                                               6          14.   If the amount in controversy is not “facially apparent,” a district Court
                                               7   may consider facts outside the face of the Complaint to determine whether the
                                               8   amount at stake satisfies the $75,000.00 case-and-controversy requirement. See
                                               9   Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (citing Singer, 116
                                              10   F.3d at 375-77).
                                              11          15.   In these instances, however, the removing party must “provide
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                                              12   evidence that it is ‘more likely than not’ that the amount in controversy exceeds
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                                              13   [$75,000.00].” Valdez, 372 F.3d at 1117 (citing Sanchez v. Monumental Life Ins.
                                              14   Co., 102 F.3d 398, 404 (9th Cir. 1996); Gaus v. Miles, Inc., 980 F.2d 564, 567 (9th
                                              15   Cir. 1992). Further, “although a statement of damages pursuant to [California
                                              16   Code of Civil Procedure] section 425.11 is not filed with the court as part of the
                                              17   complaint, it is normally viewed as a serious estimate of the damages in a given
                                              18   case.” Surber v. Reliance Nat. Indem. Co., 110 F. Supp. 2d 1227, 1230 (N.D. Cal.
                                              19   2000); see also Rahwar v. Nootz, 863 F. Supp. 191, 192 (D.N.J. 1994) [a plaintiff’s
                                              20   statement of damages letter is an “other paper” within the meaning of 28 U.S.C. §
                                              21   1446(b)].
                                              22          16.   Here, Plaintiff contends she suffered injuries as a result of a slip and
                                              23   fall. Plaintiff alleges her medical specials as of November 19, 2020 were
                                              24   $50,000.00 and her loss of earnings to date were $50,000.00 as reflected on her
                                              25   Statement of Damages. (Exhibit “B.”)
                                              26   ///
                                              27   ///
                                              28
                                                                                             4
                                                                                                                   NOTICE OF REMOVAL
                                                                                                                  Case No. 5:20-cv-20-02645
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                                               1           17.   Plaintiff also seeks recovery for future medical specials, loss of future
                                               2   earning capacity, and property damage in the amount of $1,025,000.00. (Exhibit
                                               3   “B.”)
                                               4           18.   Plaintiff further contends she is making claims for general damages,
                                               5   including $1,000,000.00 for pain, suffering, and inconvenience, and $1,000,000.00
                                               6   for emotional distress. (Exhibit “B.”)
                                               7           19.   Based on the above, Target estimates in good faith that the amount in
                                               8   controversy exceeds $75,000.00 (past medical specials of $50,000.00, future
                                               9   medical specials of $500,000.00, loss of earnings to date of $50,000, loss of future
                                              10   earning capacity of $500,000.00, property damage of $25,000.00, and general
                                              11   damages of $2,000,000.00, totaling $3,125,000.00), exclusive of interest and costs.
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                                                   As such, Target has set forth facts proving, by a preponderance of the evidence,
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        El Segundo, California 90245




                                              13   that the amount-in-controversy requirement is met.
                                              14                                            Venue
                                              15           20.   Because this action was commenced in the Superior Court of San
                                              16   Bernardino County, California, under 28 U.S.C. §84(c) and 1441(a), this United
                                              17   States District Court for the Central District of California, Eastern Division, is the
                                              18   proper forum for removal of this action from State to Federal Court.
                                              19                                            Notice
                                              20           21.   Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice
                                              21   is being filed with the Clerk of the Superior Court of the State of California,
                                              22   County of San Bernardino, and is being served upon Plaintiff with written notice
                                              23   thereof, such that Subsection (d)’s requirements are being satisfied. A true and
                                              24   correct copy of Defendant’s Notice of Filing of Notice of Removal (without
                                              25   exhibits) that is being filed with the Clerk of the Superior Court of the State of
                                              26   California, County of San Bernardino, is attached hereto as Exhibit “E.”
                                              27

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                                                                                                                    NOTICE OF REMOVAL
                                                                                                                   Case No. 5:20-cv-20-02645
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                                              Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 6 of 36 Page ID #:6


                                               1         WHEREFORE, Defendant prays that this action be removed to this Court,
                                               2   that this Court accept jurisdiction of this action, and that this action be placed on
                                               3   the docket of this Court for further proceedings, the same as though this action had
                                               4   originally been instituted in this Court.
                                               5                                  Demand for Jury Trial
                                               6         Defendant also hereby demands a trial by jury on all issues so triable.
                                               7

                                               8   DATED: December 23, 2020                THE HAHN LEGAL GROUPAPC

                                               9

                                              10                                     By:
                                                                                           ADRIENNE R. HAHN,
                                              11                                           Attorneys for Defendant TARGET
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                                                                           CORPORATION
                                              12
    THE HAHN LEGAL GROUP APC
    2361 Rosecrans Avenue, Suite 373
        El Segundo, California 90245




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                                                                                                                  NOTICE OF REMOVAL
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                        EXHIBIT “A”




                                                                          7
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                                                                                                                                                            SUM-100
                                            SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                    (CITACJON JUDICIAL)
   NOTICE TO DEFENDANT:
   (AV/SO AL DEMANDADO):                                                                                                        FILED
                                                                                                                 ~uPERIOR COURT OF CALIFORNIA
   TARGET CORPORATION, a Minnesota corporation; DOES 1 through                                                   ;:, l'UUNTY CF ~Ml BERNAFl81NO
   50, inclusive,                                                                                                    ~SAN BERNARDINO DISTRICT

   YOU ARE BEING SUED BY PLAINTIFF:
   (LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                                MAY 29 2020
   MARIA GAVILANES, an individual,
                                                                                                              BY-~wLi.a~·c~~        ~
                                                                                                                  NICOLE O'DWYEF\. DEPUTY
                                                                                                                                                        .
    NOTICE I You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to me a written response at this court and have a copy
    served on the plolnUff. A letter or phone call will not protect you. Your written response rnust be In proper legal form If you want the court to hear your
    case. There may be a court form tho! you can use for your response. You can find these court forms and more Information at the California Courts
    Online Sel~Help Center (www.courtlnfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the flllng fee, ask
    the court clerk for a fee waiver form. If you do not flle your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
        There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
    referrl!I service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can lo~te
    these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomla.org), lhe California Courts· Online Self-Help Cenler
   (www.courtinfo.ca.gov/selfhelp), or by conlaellng your local court or county bar association. NOTE: The court has a statutory llen for waived fees arid
    cosls on any se!Uement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
   1AVISOI Lo han demandado. SI no responde dentro de 30 dlas, la carte puede decldlr en su contra sin escuchar su versl6n. Lea la lnformac/6n a
   contlnuac/6n.
       Tfene 30 DIAS DE CA LENDARIO despuas de que le entreguen esta cltac/6n y papa/es legales para presenter una respuesta por escrito en esta
   corte y hacer que se entregue una cop/a al demandante. Una carta o una /lamada telef6nlca no lo protegen. Su respuesta por escrlto Ilene que ester
   en formato legal com:cto sl desea que procesen su caso en la corte. Es poslble que haya un formularfo que usted pueda usar para su respuesta.
   Puede encontrarestos formularlos de la corte y mas lnformacl6n en el Centro de Ayuda de las Cortes de Califomla (www.sucorte.ca.gov), en la
   blblloteca de /eyes da su condado o en fa carte que le quede mas cerca. Sf no puede pagar la cuota de presentacf6n, plda al secretario de fa carte
   qua le de un formu/ario de exencf6n da pago de cuotas. SI no presents su respuesta a l/empo, puede perder el caso por lncumpllmlento y la carte le
   podrtJ quitar su sue/do, dlnero y b/enes sin mas advartencla.
      Hay otros requ/sitos fegales. Es recomendable que /lame a un abogado lnmedlatamente. SI no conoce a un abogado, puede /lamer a un seNicio de
   ramlsl6n a abogados. SI no puede pagar a un abogado, es pos/ble qua cumpla con los requlsltos para obtener saNiclos legates gratultos de un
   programs de seNlclos /egales sin fines de lucro. Pueda encontrar estos grupos sin fines de lucro en el sltlo web de Cal/fomla Legal Services,
   (www.lawhelpcallfomia.org), en el Centro de Ayuda de las Cortes de Cal/fom/a, (www.sucorte.ca.gov) o pon/6ndose en contacto con fa corte o el
   co/eglo de abogados locales. AV/SO: Por fey, la corte Ilene derecho a reclamar las cuotas y fos costos exentos por imponer un gravamen sabre
   cua/quler recuperacf6n de $10,000 6 mas de valor raclbtda med/ante un acuerdo o una concesl6n de arbl/raje en un caso de derecho civil. Tlene que
   pagar el gravamen de la carte antes de que la carte pueda desechar el caso.
  The name and address of the court Is:                                                                     CASE NUMBER:
                                                                                                            (Namem de/ Caso}:
  (El nombre y dlreccl6n do la carte os):       San Bernardino Superior Court
   247 W. Third Street
   San Bernardino, California 92415
  The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:
  (El nombre, la dlrecci6n y el ntJmero de tefefono def abogado de/ demandante, o def demandante que no tiene abogado, es):
   Chahine Law, APC; 714 W. Olympic Blvd., Ste, 940, Los Angeles, CA 90015; (213) 746-4000

  DATE:                                MAY 2 9 2020                             Clerk, by                   N~COLE O'DWYER                                  , Deputy
   (Fecha)                                                             (Secretario)                                                                          (Adjunfo)
  (For proof of service of this summons. use Proof of Service of Summons (form POS-010).)
  (Paro pruoba do enfrega de esta citati6n use el formufario Proof of Service of Summons, (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
   !SEAL)
                                       1. D as an Individual defendant.
                                       2. D   as the person sued under the fictitious name of (specify):
                                            ~                               Tf\~ CoR.PO'(l1tT1010 1 o. /v\''""~so+°' Covpovctf.Qf)
                                            tAJ
            COPY                       3.
                                            under:
                                                  on behalf of (specify):
                                                     ~ CCP 416.10 (corporallon)
                                                     L:J   CCP 416.20 (defunct corporation)
                                                                                                            D
                                                                                                            CJ
                                                                                                                     CCP 416.60 (minor)
                                                                                                                     CCP 416.70 (conservatee)
                                                     D     CCP 416.40 (association or partnership)          D        CCP 416.90 (authorized person)
                                                     D    other (specify):
                                      4.    D     by personal delivery on (date):
                                                                                                                                                               Pa e1or1
  Form Adopted lot Mandatory Use                                        SUMMONS                                                   Code Of Cl\111 Proced ..... §§ 412.20, 465
    Judlclal Council ol Callromte                                                                                                                    WIVIV.COVrtlnfo.ca.gov
   SUM-100 [Rev. July 1, 2009)




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Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 9 of 36 Page ID #:9


      ,'




     ,.,

            1   HUSSEIN A. CHAHINE, ESQ. (State Bar No. 2281 SO)
                ERIC H. GODOY, ESQ. (State Bar No. 225427)
            2   CHAHINE LAW, APC
                714 West Olympic Boulevard, Suite 940                                   FILED
                                                                                SUPERIOR COURT OF CALIFORNIA
            3   Los Angeles, California 90015                                    COUNTY OF SAN BERNARDINO
                Telephone: (213) 746-4000 IFacsimile: (213) 746-4006              SAN BERNARDINO DISTRICT

            4
                                                                                      MAY 2 9 2020
            5   Attorneys for Plaintiff, MARIA GAVILANES

            6
                                                                            BY_      }Jd~            <       .
                                                                                    NICOLE O'DINYER. DEPUTY

            7

            8                       SUPERJOR COURT OF THE STATE OF CALIFORNIA

            9                            FOR THE COUNTY OF SAN BERNARDINO

           10

           ll   MARIA GAVILANES, an individual,
                                                                     cASENoC\V         os ·2 o1 o1 rs
           12
                                      Plaintiff,                     COMPLAINT FOR DAMAGES FOR
           13
                                                                     PERSONAL        INJURIES
                      vs.                                            [NEGLIGENCE/PREMISE LIABILITY]
           14

           15
                TARGET CORPORATION, a Minnesota
                corporation; DOES 1 through 50, inclusive,
           16
                                    Defendants.
           17

           18

           19
                       Comes now, Plaintiff MARIA GAVILANES and for her cause of action against the
           20
                Defendants, and each of them, complains and alleges as follows:
           21
                       1.      Plaintiff MARIA GAVILANES is an individual residing within the County of San
           22
                Bernardino, State of California.
           23
                       2.      Plaintiff is informed and believes that, at a11 times relevant hereto, Defendant
           24
                TARGET CORPORATION is and was a Minnesota corporation duly organized under the laws
           25
                of the State of Minnesota doing business in the County of Son Bernardino, State of California.
           26
                       3.      Plaintiff is informed and believes, and based thereon alleges, that at all times
           27
                relevant herein, each of the Defendants, including DOES 1through50, inclusive (hereinafter
           28


                                                                 1
                                                          COMPLAINT


                                                                                                                  9
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                 1    collectively "Defendants"), was the agent of each of the remaining Defendants, and each such

                 2    Defendant empowered and authorized each of the remaining Defendants to act and did in fact act

                 3    as the agent of each of the remaining Defendants within the course and scope of such agency.

                 4    Plaintiff is further info1med and believes, and based thereon alleges, that the acts of each

                 5    Defendant alleged herein were ratified, authorized or otherwise approved by each of the

                 6    remaining Defendants.

                 7            4.     Plaintiff is ignorant of the true names and specific capacities of the Defendants

                 8    sued herein as DOES 1 through 50, inclusive, and therefore sues these Defendants by fictitious

                 9    names. Plaintiff is informed and believes, and based thereon alleges, that each fictitiously named

               10     Defendant is responsible in some manner for the acts alleged in this complaint. Plaintiff will

               11     amend this complaint to allege the true names and capacities of these fictitious Defendants when

         .. 12        their identities are ascertained. Each reference in this complaint to Defendants or to a
      -~I•     13     specifically named Defendant refers also to all Defendants sued under fictitious names.

               14             5.     At all times herein mentioned, Defendants TARGET CORPORATION and DOES

        ;~    15      1through50, and each of them, were engaged in the business of owning, managing, controlling,

             .':1'6   inspecting, servicing, maintaining, operating, leasing, and renting the premises located at 9052

              17      Central Avenue, Montclair, California 91763 ("PREMISES").

              18             6.      On or about May 17, 2018, Plaintiff MARIA GAVILANES was an invitee upon

              19      said business PREMISES.

              20             7.      On or about May 17, 2018, Defendants, and each of them, carelessly and

              21      negligently owned, constructed, managed, operated, maintained, designed, signed, inspected,

              22      repaired, controlled, staffed, supervised, promoted, and advertised said PREMISES in a

              23      dangerous, defective, and unsafe condition. By reason of said carelessness and negligence of the

              24      Defendants, and each of them, said business PREMISES was unsafe and dangerous to invitees

              25      thereon such as and including Plaintiff.

              26             8.      The Defendants, and each of them were negligent in that they failed to use

              27      reasonable care to keep the subject PREMISES in a reasonably safe condition and/or to discover

              28      the unsafe condition on the PREMISES.


                                                                     2
                                                                 COMPLAINT

                                                                                                                       10
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         1               9.    Defendants, and each of them, failed to warn Plaintiff of said dangerous,

         2   defective, and unsafe condition, although the Defendants, and each of them, knew, or in the

         3   exercise of ordinary care, should have lmown of said condition.

         4               10.   At said time and place and as a direct and legal result of the carelessness and

         5   negligence of the Defendants, and each of them, Plaintiff MARIA GAVILANES slipped and/or

         6   tripped and fell as a result of a dangerous and/or unsafe condition located on said PREMISES.

         7               11.   As a proximate result of the acts and omissions of the Defendants, and each of

         8   them, Plaintiff MARIA GAVILANES, was hmt and injured in her health, strength, and activity,

         9   having sustained, inter alia, injuries to her neck, back, shoulders, elbows, arms, lmees, legs, hips,

        10   and other injuries, all of which said injuries caused and continue to cause PlaintiffMARIA

        11   GAVILANES great mental, physical, and nervous pain and suffering. Plaintiff MARIA

        12   GAVILANES is informed and believes and thereby alleges that said injuries will result in some

        13 . pe1manent disability to Plaintiff, all to Plaintiff's general damage in an amount in excess of the

        14   minimum jurisdictional limits of this co mt.

        15               12.   As a further direct and proximate result of the acts and omissions of the

        16   Defendants, and each of them, as aforesaid, Plaintiff MARIA GAVILANES has incuned and

        17   will in the future incur expenses for surgery, hospitalization, examination, care, and treatment of

       18    her injuries, the exact nature and extent of which are unlmown to Plaintiff at this time and

       19    Plaintiff will ask leave of court to amend the complaint according to proof when the same are

       20    ascertained at trial.

       21·               13.   As a fmther direct and proximate result of the acts and omissions of the

       22    Defendants, and each of them, as aforesaid, Plaintiff MARIA GAVILANES will be unable to

       23    pursue her vocation and has therefore suffered and will suffer in the future, a loss of earnings and

       24    earning capacity, the exact amount of which is unlmown to Plaintiff at this time, and Plaintiff

       25    will ask leave of comt to amend the complaint according to proof when the same are asce1iained

       26    at trial.

       27                14.   As a futiher direct and proximate result of the acts and omissions of the

       28    Defendants, and each of them, Plaintiff MARIA GAVILANES was required to incur other


                                                                3
                                                         COMPLAINT


                                                                                                                 11
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 12 of 36 Page ID #:12




         1   economic losses all in an amount according to proof.

         2                                      PRAYER FOR RELIEF
         3          WHEREFORE, Plaintiff MARIA GAVILANES prays for judgment against the

         4   Defendants, and each of them, as follows:

         5          1.     For all general damages, according to proof;

         6          2.     For all special damages, according to proof;

         7          3.     For medical and health care expenses, according to proof; and

         8          4.     For lost earnings and earning capacity, according to proof.

         9          5.     For pre-judgment interest;

        10          6.     For costs of suit incurred herein; and

        11          7.     For such other and fmther relief as the co mt may deem just and proper.

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        13   DATED: May 12, 2020

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                                                             4
                                                     COMPLAINT

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Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 13 of 36 Page ID #:13



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                                                                                                                                                                      CM-010
     Ali~'.:fgX:~a~l:~.~~W~N~~rstt)tif:rcliil~~~c:r~:F:sq. (SBN 22s421>
                                                                                                                                     FOR COURT USE ONL V

         CHAHINE LAW, APC
         714 W. OlympicBoulevard..l Suite 940                                                                                            FILED
         Los Angeles, California 90u15                                                                                    SUPERIOR COURT OF CALIFORNIA
                                                                                                                           COUNTY OF SAN BERNARDINO
                       (21~) J46-40Q0
                TELEPHONE NO.:               .    FAXNO.: (213) 746-4006
                                                                                                                            SAN BERNARDINO DISTRICT
                       P lamt1ff, Maria Gavilanes
        ATTORNEY FOR (Name}:
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Bernardino
        STREETADDREss: 247 W. Third Street                                                                                            MAY 29 2020
               MAILING ADDRESS:


                                                                                                                          ---oAoUe:..i.a~·hJ.JC...-~'""'
           crrv ANDztP cooE:      San Bernardino, CA 92415
                  BRANCH NAME:    San Bernardino District - Civil Division                                           av
                                                                                                                                NICOLE O'DWYER, DEPUTY
                                                                                                                                                         _
        CASE NAME:
        Mada Gavilanes v. Target Cor oration, et al.
                                                                                                                    CASE NUMBER:
           CIVIL CASE COVER SHEET                                       Complex Case Designation
    [lJ          Unlimited           D
                               Limited                     Counter D            Jolnder    D
               . (Amount       (Amount                                                       JUDGE:
                 demanded      demanded is          Filed with first appearance by defendant
                 exceeds $25,000)
                               $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:
                                   Items 1-6 below must be completed (see instructions on page 2).
    1. Check one box below for the case type that best describes this case:
         Auto Tort                                               Contract                                    Provlslonally Complex Clvll Litigation
         D     Auto (22)                                         D Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.40D-3.403)
         D     Uninsured motorist (46) .                         D Rule 3.740 collections (09)               D     Anlltrustrrrade regulation (03)
         Other Pl/PDIWD (Personal Injury/Property                D Other collectlons (09)                    D     Construction defect (10)
         Damage/Wrongful Death) Tort                             D Insurance coverage (18)                   D     Mass tort (40)
         D     Asbestos (04)                                     D Other contract (37)                       D     Securities lltlgatlon (28)
         D          Product llablllty (24)                       Real Property                               D     Environmental/Toxic tort (30)
         D          Medical malpractice (45)                     D Eminent domain/Inverse                    D     Insurance coverage clalms arising from the
         [Z]   Other Pl/PD/WO (23)                                     condemnation (14)                           above !Isled provlslonally complex case
          Non-PllPDIWD (Other) Tort                              D Wrongful eviction (33)                          types (41)

         D          Business tort/unfair business practice (07)  D Other real property (26)                  Enforcement of Judgment
         D          Clvil rfghls (08)                           Unlawful Detainer                            D     Enforcement of judgment (20)
         D          Defamation (13)                              D   Commercial (31)                         Miscellaneous Clvll Complalnt
         D          Fraud (16)                                   D      Resldenllal (32)                     D     RIC0(27)
         D    Intellectual property (19)                         D      Drugs(38)                            D     Other complaint (not specified above) (42)
         D    Professlonal negligence (25)                       Judlclal Review                             Miscellaneous Clvll Petition
         D    Other non-Pl/PD/WD tort (35)                       D     Asset forfeiture (05)                 D     Partnership and corporate governance (21)
         Employment                                              D     Petition re: arbitration award (11)
                                                                                                             D     Other petition (not specified above) (43)
         D          Wrongful termination (36)                    D      Writ of mandate (02)
         D          Other employment (15)                        D      Other Judlclal review (39)
   2. This case         is LJ            LLI
                                    is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
          a.    D      Large number of separately represented parties               d.   D     Large number of witnesses
          b.    D      Extensive motion practice raising difficult or novel         e.   D     Coordination with related actions pending In one or more courts
                       Issues that will be time-consuming to resolve                           in other counties, states, or countries, or In a federal court
          c.    D      Substantial amount of documentary evidence                   f.   D     Substantial postjudgment judicial supervision

   3.    Romedles sought (choc/c all that apply): a.[ZJ monetary b.O nonmonotary; declaratory or Injunctive relief                                       r:. Opunitivo
   4.    Number of causes of action (specify): One
   5.    This case         D
                           Is            W
                                      is not a class action suit.
   6.    If there are any known related cases, file and serve a notice of related c
   Date:       SJ Id./d-DJcu
   Eric H. Godoy, Esq.
                                     (TYPE OR PRINT NAME)
                                                                                  NOTICE
     • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding ( cept s II Cralms cases or cases filed
       under the Probate Code, Family Code, or Wclfaro and ln:;tltulions Code). (Cal. RuloG o Court, lo 3.220.) Failuro to filo may rosult
       In sanctions.
     • Filo thl:; cover sheet In addition to any cover :;hoot roqulrod by local court rule.
     • If this case Is complex under rule 3;400 et seq. of the California Rules of Court, you must rve a copy of this cover sheet on all
       other parties to the action or proceeding.
     • Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                      15a e 1 on
   Fonn Adopted tor Mandatory Use                                CIVIL CASE COVER SHEET                                Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
     Judlclal Council ot Cellromla                                                                                            Cal. Slendards at Judlclef Admlnlslmllon, sld. 3.10
      CM-010 [Rev. July 1, 2007)                                                                                                                           1vww.courtlnfo.ca.gov




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               SUPERIOR CuORT OF CALIFORNIA, COUNTY    u~·   SAN BERNARDINO




      San Bernardino District - Civil
      247 West Third Street

      San Bernardino, CA. 924150210


                                                 CASE NO: CIVDS2010176
        CHAHINE LAW APC
        714 W OLYMPIC BLVD
        SUITE 940
        LOS ANGELES CA 90015
                                    NOTICE OF TRIAL SETTING CONFERENCE


      IN RE: GAVILANES -V- TARGET

      THIS CASE HAS BEEN ASSIGNED TO: WILFRED J SCHNEIDER JR. IN DEPARTMENT S32
      FOR ALL PURPOSES.

      Notice is hereby given that the above-entitled case has been set for
      Trial Setting Conference at the court located at 247 WEST THIRD STREET
      SAN BERNARDINO, CA 92415-0210.

              HEARING DATE: 11/30/20· at   9:00 in Dept. S32

      The Trial Setting Conference will be held in chambers without the
      appearance of the parties -except for good cause shown. (see Emergency
      Local Rule 411.1).

      Parties shall file and serve no later than 15 days prior to the trial
      setting conference the mandatory Initial Trial Setting Conference
      Statement form (local for #13-09001-360) included with this notice.
      Prior to the date of the initial trial setting conference, the court
      may entertain a written stipulation by all appearing parties to con-
      tinue the initial· trial setting conference if filed at least 30 days
      prior to the conference.

      DATE: 06/15/20   Nancy Eberhardt, Court Executive Officer
                                                         By: NICOLE O'DWYER FENNE

                        CERTIFICATE OF SERVICE

      I~am a Deputy Clerk of the Superior Court for the County of San
      Ber ardino at the above listed address. I am not a party to this
      ac ion and on the date and place shown below, I served a copy of the
      ab ve listed notice:
      ( ) Enclosed in a sealed envelope mailed to the interested party
      addressed above, for collection and mailing this date, following
      standard Court practices.
      ( ) Encl9sed in a sealed envelope, first class postage prepaid in the
      U.S. mail at the location shown above, mailed to the interested party
      and addressed as shown above, or as shown on the attached listing.
      ( ) A copy of this notice was given to the filing party at the counter
      ( ) A copy of this notice was placed in the bin located at this office



                                                                              14
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 15 of 36 Page ID #:15



                          I                         i
      and identified as tri~ location for the above ldW firm's collection of
      file stamped documents.

      Date of Mail~ng: 06/15/20
      I declare under penalty of perjury that the foregoing is true and
      correct. Executed on 06/15/20 at San Bernardino, CA

                                             BY: NICOLE O'DWYER FENNELL




      civ-ntsc-20130417




                                                                          15
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                                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

          Maria Gavilanes                                                                        Case    N~ 1\I n ~ ?       0 1 0 1 7 fi
                                           vs.
                                                                                          CERTIFICATE OF ASSIGNMENT

          Target Corporation, et al.



    A civil action or proceeding presented for filing must be accompanied by thia certificate. If tho ground Ii: the rei:idence
    of a party, name and residence shall be stated.
                                                                                            Civil Division
    The undersigned declares that the above-entitled matter is filed for proceedings in the - - - - - - - - - - -
    District of the Superior Court under Rule 404 of this court for the checked reason:
                     CE] General                             D
                                                          Collection
                      Nature of Action                Ground
    D                 Adoption                        Petitioner resides within the district.
    CJ       2        Conservator                     Petitioner or conservatee resides within the district.
    0        3        Contract                        Performance in the district is expressly provided for.
    0        4        Equity                          The cause of action arose within the district.
    D        5        Eminent Domain                  The property Is located within the district.
    0        6        .Family Law                     Plaintiff, defendant, petitioner or respondent resides within the district.
    0        7        Guardianship                    Petitioner or ward resides within the district or has property within the district.
    0        B        Harassment                      Plaintiff, defendant, petitioner or respondent resides within the district.
    0        9        Mandate                         The defendant functions wholly within the district.
    D       1O        Name Change                     The petitioner resides within the district.
    [}[] 11           Personal Injury                 The injury occurred within the district.
    0       12        Personal Property               The property is located within the district.
    CJ      13        Probate                         Decedent resided or resides within the district or had property within the district.
    CJ     14         Prohibition                     The defendant functions wholly within the district.
    CJ     15         Review                          The defendant functions wholly within the district.
    D      16         Title to Real Property          The property is located within the district.
    CJ     17         Transferred Action              The lower court is located within the district.
    0      18         Unlawful Detainer               The property is located within the district.
    019               Domestic Violence               The petitioner, defendant, plaintiff or respondent resides within the district.
    020               Other
    021               THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT.

    The address of the accident; performance, party, detention, place of bu:iinc:is, or other factor which qualifies this case
    for filing In the above-designated distric;t is:
    9052 Central Avenue
           (NAME-INDICATE TITLEOR OTHER QUALIFYING FACTOR)                                              ADDRESS

    Montclair                                                         California                                                   91763
           (CITY)                                                            (STATE)                                              (ZIPCDDE)


    I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was executed on

                  s= )Id- ) ao ~r:J
                           T     I

    1~16503-360   Rev. 111111•                                                                                                                SS.16503




                                                                                                                                                 16
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 17 of 36 Page ID #:17




   NAME AND ADDRESS OF ATIORNEY OR PARlY WITHOUTATIORNEY:                              STATE BAR NUMBER                             ReseNed lor Clerk's File Slemp




    TELEPHONE NO.:
    E-MAIL ADDRESS:                                    TRIAL SETTING CONFERENCE DATE:
    ATTORNEY FOR (Name):
    FAX NO. (Optional):
                                                       UNLIMITED CASE:
                                                                               --
                                                       LIMITED CASE:
                                                                               --
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
   COURTHOUSE ADDRESS:

   PLAINTIFF:

   DEFENDANT:
                                                                                                                          CASE NUMBER:
                INITIAL TRIAL SETTING CONFERENCE STATEMENT

  INSTRUCTIONS: All applicable boxes must be checked, and the specified Information must be provided. This document must be filed and
 served at least 15 days prior to the trial setting conference date.
      1.
          a.
          b.
                B
          Party or parties (answer one):
                   This statement is submitted by party (name):
                   This statement is submitted jointly by parties (names):

     2.    Service of Complaint on all parties has          0    has not     0     been completed.

     3.    Service of Cross-Complaint on all parties has             0       has not   0    been completed.

     4.    Description of case in Complaint:


     5.    Description of case in Cross-Complaint:



     6.    Has all discovery been completed: Yes            0     No     0       Date discovery anticipated to be completed: - - - - - - - - -

     7.    Do you agree to mediation?        Yes   0        No   0     Please check type agreed to: Private: ___         Court-sponsored:

     8.    Related cases, consolidation, and coordination: Please attach a Notice of Related Case.

           0    A motion to     0
                              consolidate              0    Trial dates requested: Yes        0      No   0   Available dates: - - - - - - - - - - - Time
           estimate: - - - - -

     9.    Other issues:
           D The following additional matters are requested to be considered by the Court:
     10. Meet and Confer:
           D    The parties represent that they have met and conferred on all subjects required by California Rules of Court, Rule 3.724.

           0    The parties have entered into the following stipulation(s):

     11. Total number of pages attached (if any): _ _

           I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution, as well as
           other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of the Initial Trial Setting
           Conference, including the written authority of the party where required.
           Date: - - - - - - - -


                      (TYPE OR PRINT NAME)                                                         (SIGNATURE OF PARTY OR ATTORNEY



                      (TYPE OR PRINT NAME)                                                         (SIGNATURE OF PARTY OR ATTORNEY




          Form # 13-09001-360
          Mandatory Form                       INITIAL TRIAL SETTING CONFERENCE STATEMENT



                                                                                                                                                                     17
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 18 of 36 Page ID #:18




                                                                                       CIV-050
                                • DO NOT FILE WITH THE COURT-
   -UNLESS YOU ARE APPL YING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 •

  ATTORNEY OR PARTY WITHOUT ATTORNEY(Name and Address):                                                                                   TELEPHONE NO.:                                               FOR COURT USE ONLY
  Hussein A. Chahine, Esq. SBN 228150)                (213) 746-4000
  Eric H. Godoy, Esq. (SBN 225427)
  CHAHINE LAW, APC
  714 West Olympic Boulevard, Suite 940, Los Angeles, California 90015
    ATTORNEY FOR 1namaJ: Plaintiff, Maria Gavilanes

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
   STREET ADDRESS: 24 7 W. Third Street
     MAILING ADDRESS:

    CITY AND ZIP CODE:       San Bemardino, CA 92415
          BRANCH NAME:       San Bernardino Superior Court
       PLAINTIFF:           Maria Gavilanes
    DEFENDANT:              Target Corporation, et al.
                                                                                                                                                                             CASE NUMBER:
                                                STATEMENT OF DAMAGES
                                            (Personal Injury or Wrongful Death)                                                                                                                     CIVDS2010176
  To (name of one defendant only): Target Corporation
  Plaintiff (name of one plaintiff only): Maria Gavilanes
  seeks damages in the above-entitled action, as follows:
                                                                                                                                                                                                                        AMOUNT
  1. General damages
     a. W   Pain, suffering, and inconvenience ....................·............................................................................... .                                                              $1,000,000.00
     b. CZJ        Emotional distress ..............................................................................................................................                                               $1,000,000.00
     c. D          Loss of consortium .. .. .. .. .... .. .. ... ... .. .. .. .. ... .. ... .. ... .. .. .. .. ...... .. .. .. .. ........... ... .. .. .. ... .. ... .. ... .. .... ... .. .... .. ...... ... .   $
                                                                                                                                                                                                                     -------
     d. D          Loss of sociey and companionship (wrongful death actions only) .. ... .. ......... ... .. .. .. .. ... .. .... .. .. . .. ... .. ... ..                                                         $
                                                                                                                                                                                                                     -------
     e. D          Other (specify)                                                                                                                                                                                 $
                                                                                                                                                                                                                     -------
     f. D          Other (specify)                                                                                                                                                                                 $
                                                                                                                                                                                                                     -------
     g. D          Continued on Attachment 1.g.
  2. Special damages
     a.   W        Medical expenses (to date)................................................................................................................                                                      $ 50,000.00
     b.   CZJ      Future medical expenses (present value) ..........................................................................................                                                              $ 500,000.00
     c.   W        Loss of earnings (to date) ...................................................................................................................                                                  $ 50,000.00
     d.   CZJ      Loss of future earning capacity (present value) ..................................................................................                                                              $ 500,000.00
     e. D          Property damage ................................................................................................................................                                                $ 25,000.00
     f. D          Funeral expenses (wrongful death actions only) .. ....... ..... ..... ................. ................................ ............ $
                                                                                                                                                                                                                       -------
     g. D          Future contributions (present value) (wrongful death actions only) .............................. ......................                                                                        $
                                                                                                                                                                                                                       -------
     h. D          Value of personal service, advice, or training (wrongful death actions only) ........... ............... ..... ....... $
                                                                                                                                                                                                                       -------
     i. D          Other (specify)                                                                                                                                                                                 $
                                                                                                                                                                                                                       -------
     j. D          Other (specify)                                                                                                                                                                                 $ _ _ _ _ _ __
     k. D          Continued on Attachment 2.k.




                                                                                                 STATEMENT OF DAMAGES                                                                                  code.6rc1vi1Procedure, §§425.11. 425.115
  Fo~~d~i~Fb~~~~1~~~~~~7n1~
                                    50
                                                                                                                                                                                                       /                    www.courtinfo.ca.gov
  CIV-050 IRev.   January 1, 2007)                                                       (Personal Injury or Wrongful Death)




                                                                                                                                                                                                                                          18
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 19 of 36 Page ID #:19




                                                                                                                                                    CIV-050
                                                                                                            CASE NUMBER:
         PLAINTIFF:    Maria Gavilanes
                                                                                                                     CIVDS2010176
   DEFENDANT:          Target Corporation, et al.
                                                            PROOF OF SERVICE
  (After having the other party served as described below, with any of the documents identified in item 1, have the person who served
  the documents complete this Proof of Service. Plaintiff cannot serve these papers.)

  1. I served the
      a.   D   Statement of Damages             CJ Other (specify):
     b. on (name):
     c. by serving      D         defendant     D     other (name and title or relationship to person served):

     d.    D     by delivery         D      at home   Oat business
                 (1) date:
                 (2) time:
                 (3) address:
     e.    D     by mailing
                 (1) date:
                 (2) place:
  2. Manner of service (check proper box):
    a.    D      Personal service. By personally delivering copies. (CCP § 415.10)
    b.    D      Substituted service on corporation, unincorporated association (including partnership), or public entity. By
                 leaving, during usual office hours, copies in the office of the person served with the person who apparently was in
                 charge and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the
                 copies were left. (CCP § 415.20(a))
    c.     D     Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
                 usual place of abode, or usual place of business of the person served in the presence of a competent member of the
                 household or a person apparently in charge of the office or place of business, at least 18 years of age, who was
                 informed of the general nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the
                 person served at the place where the copies were left. (CCP § 415.20(b)) (Attach separate declaration or affidavit
               , stating acts relied on to establish reasonable diligence in first attempting personal service.)

    d.    D     1Mail and acknowledgment service. By mailing (by first- class mail or airmail, postage prepaid) copies to the person
                 served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
                 addressed to the sender. (CCP § 415.30) (Attach completed acknowledgment of receipt.)
    e.     D     Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
                 requiring a return receipt) copies to the person served. (CCP § 415.40) (Attach signed return receipt or other
                 evidence of actual delivery to the person served.)
    f.     D   Other (specify code section):
                  D   additional page is attached.
  3. At the time of service I was at least 18 years of age and not a party to this action.
  4. Fee for service: $
  5. Person serving:
     a.   D    California sheriff, marshal, or constable                       f. Name, address and telephone number and, if applicable,
     b.   D    Registered California process server                                county of registration and number:
     c.   D    Employee or independent contractor of a registered
               California process server
     d.   D    Not a registered California process server
     e.    D   Exempt from registration under Bus. & Prof. Code
               § 22350(b)
  I declare under penalty of perjury under the laws of the                             (For California sheriff, marshal, or constable use only)
  State of California that the foregoing is true and correct.                          I certify that the foregoing is true and correct.
  Date:                                                                                         Date:


   ~------                        (SIGNATURE)                                                   ~------            (SIGNATURE)


   V-050 (Rev. January 1, 2007)                                                                                                                       Page 2 of 2
                                                                 PROOF OF SERVICE                                      Code or Civil Procedure §§ 425.11, 425.115
                                                               (Statement of Damages)




                                                                                                                                                           19
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 20 of 36 Page ID #:20




                        EXHIBIT “B”

                                                                          20
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 21 of 36 Page ID #:21




                                                                                       CIV-050
                                • DO NOT FILE WITH THE COURT-
   -UNLESS YOU ARE APPL YING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE § 585 •

  ATTORNEY OR PARTY WITHOUT ATTORNEY(Name and Address):                                                                                   TELEPHONE NO.:                                               FOR COURT USE ONLY
  Hussein A. Chahine, Esq. SBN 228150)                (213) 746-4000
  Eric H. Godoy, Esq. (SBN 225427)
  CHAHINE LAW, APC
  714 West Olympic Boulevard, Suite 940, Los Angeles, California 90015
    ATTORNEY FOR 1namaJ: Plaintiff, Maria Gavilanes

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
   STREET ADDRESS: 24 7 W. Third Street
     MAILING ADDRESS:

    CITY AND ZIP CODE:       San Bemardino, CA 92415
          BRANCH NAME:       San Bernardino Superior Court
       PLAINTIFF:           Maria Gavilanes
    DEFENDANT:              Target Corporation, et al.
                                                                                                                                                                             CASE NUMBER:
                                                STATEMENT OF DAMAGES
                                            (Personal Injury or Wrongful Death)                                                                                                                     CIVDS2010176
  To (name of one defendant only): Target Corporation
  Plaintiff (name of one plaintiff only): Maria Gavilanes
  seeks damages in the above-entitled action, as follows:
                                                                                                                                                                                                                        AMOUNT
  1. General damages
     a. W   Pain, suffering, and inconvenience ....................·............................................................................... .                                                              $1,000,000.00
     b. CZJ        Emotional distress ..............................................................................................................................                                               $1,000,000.00
     c. D          Loss of consortium .. .. .. .. .... .. .. ... ... .. .. .. .. ... .. ... .. ... .. .. .. .. ...... .. .. .. .. ........... ... .. .. .. ... .. ... .. ... .. .... ... .. .... .. ...... ... .   $
                                                                                                                                                                                                                     -------
     d. D          Loss of sociey and companionship (wrongful death actions only) .. ... .. ......... ... .. .. .. .. ... .. .... .. .. . .. ... .. ... ..                                                         $
                                                                                                                                                                                                                     -------
     e. D          Other (specify)                                                                                                                                                                                 $
                                                                                                                                                                                                                     -------
     f. D          Other (specify)                                                                                                                                                                                 $
                                                                                                                                                                                                                     -------
     g. D          Continued on Attachment 1.g.
  2. Special damages
     a.   W        Medical expenses (to date)................................................................................................................                                                      $ 50,000.00
     b.   CZJ      Future medical expenses (present value) ..........................................................................................                                                              $ 500,000.00
     c.   W        Loss of earnings (to date) ...................................................................................................................                                                  $ 50,000.00
     d.   CZJ      Loss of future earning capacity (present value) ..................................................................................                                                              $ 500,000.00
     e. D          Property damage ................................................................................................................................                                                $ 25,000.00
     f. D          Funeral expenses (wrongful death actions only) .. ....... ..... ..... ................. ................................ ............ $
                                                                                                                                                                                                                       -------
     g. D          Future contributions (present value) (wrongful death actions only) .............................. ......................                                                                        $
                                                                                                                                                                                                                       -------
     h. D          Value of personal service, advice, or training (wrongful death actions only) ........... ............... ..... ....... $
                                                                                                                                                                                                                       -------
     i. D          Other (specify)                                                                                                                                                                                 $
                                                                                                                                                                                                                       -------
     j. D          Other (specify)                                                                                                                                                                                 $ _ _ _ _ _ __
     k. D          Continued on Attachment 2.k.




                                                                                                 STATEMENT OF DAMAGES                                                                                  code.6rc1vi1Procedure, §§425.11. 425.115
  Fo~~d~i~Fb~~~~1~~~~~~7n1~
                                    50
                                                                                                                                                                                                       /                    www.courtinfo.ca.gov
  CIV-050 IRev.   January 1, 2007)                                                       (Personal Injury or Wrongful Death)




                                                                                                                                                                                                                                          21
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 22 of 36 Page ID #:22




                                                                                                                                                    CIV-050
                                                                                                            CASE NUMBER:
         PLAINTIFF:    Maria Gavilanes
                                                                                                                     CIVDS2010176
   DEFENDANT:          Target Corporation, et al.
                                                            PROOF OF SERVICE
  (After having the other party served as described below, with any of the documents identified in item 1, have the person who served
  the documents complete this Proof of Service. Plaintiff cannot serve these papers.)

  1. I served the
      a.   D   Statement of Damages             CJ Other (specify):
     b. on (name):
     c. by serving      D         defendant     D     other (name and title or relationship to person served):

     d.    D     by delivery         D      at home   Oat business
                 (1) date:
                 (2) time:
                 (3) address:
     e.    D     by mailing
                 (1) date:
                 (2) place:
  2. Manner of service (check proper box):
    a.    D      Personal service. By personally delivering copies. (CCP § 415.10)
    b.    D      Substituted service on corporation, unincorporated association (including partnership), or public entity. By
                 leaving, during usual office hours, copies in the office of the person served with the person who apparently was in
                 charge and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the
                 copies were left. (CCP § 415.20(a))
    c.     D     Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
                 usual place of abode, or usual place of business of the person served in the presence of a competent member of the
                 household or a person apparently in charge of the office or place of business, at least 18 years of age, who was
                 informed of the general nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the
                 person served at the place where the copies were left. (CCP § 415.20(b)) (Attach separate declaration or affidavit
               , stating acts relied on to establish reasonable diligence in first attempting personal service.)

    d.    D     1Mail and acknowledgment service. By mailing (by first- class mail or airmail, postage prepaid) copies to the person
                 served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
                 addressed to the sender. (CCP § 415.30) (Attach completed acknowledgment of receipt.)
    e.     D     Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
                 requiring a return receipt) copies to the person served. (CCP § 415.40) (Attach signed return receipt or other
                 evidence of actual delivery to the person served.)
    f.     D   Other (specify code section):
                  D   additional page is attached.
  3. At the time of service I was at least 18 years of age and not a party to this action.
  4. Fee for service: $
  5. Person serving:
     a.   D    California sheriff, marshal, or constable                       f. Name, address and telephone number and, if applicable,
     b.   D    Registered California process server                                county of registration and number:
     c.   D    Employee or independent contractor of a registered
               California process server
     d.   D    Not a registered California process server
     e.    D   Exempt from registration under Bus. & Prof. Code
               § 22350(b)
  I declare under penalty of perjury under the laws of the                             (For California sheriff, marshal, or constable use only)
  State of California that the foregoing is true and correct.                          I certify that the foregoing is true and correct.
  Date:                                                                                         Date:


   ~------                        (SIGNATURE)                                                   ~------            (SIGNATURE)


   V-050 (Rev. January 1, 2007)                                                                                                                       Page 2 of 2
                                                                 PROOF OF SERVICE                                      Code or Civil Procedure §§ 425.11, 425.115
                                                               (Statement of Damages)




                                                                                                                                                           22
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 23 of 36 Page ID #:23




                        EXHIBIT “C”

                                                                          23
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 24 of 36 Page ID #:24

                                                                              Service of Process
                                                                              Transmittal
                                                                              11/24/2020
                                                                              CT Log Number 538651278
     TO:      Sue Carlson
              Target Corporation
              1000 Nicollet Mall
              Minneapolis, MN 55403-2542

     RE:      Process Served in California

     FOR:     Target Corporation (Domestic State: MN)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                  Maria Gavilanes, etc., Pltf. vs. Target Corporation, etc., et al., Dfts.
     DOCUMENT(S) SERVED:               -
     COURT/AGENCY:                     None Specified
                                       Case # CIVDS2010176
     NATURE OF ACTION:                 Personal Injury - Failure to Maintain Premises in a Safe Condition
     ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
     DATE AND HOUR OF SERVICE:         By Process Server on 11/24/2020 at 02:40
     JURISDICTION SERVED :             California
     APPEARANCE OR ANSWER DUE:         None Specified
     ATTORNEY(S) / SENDER(S):          None Specified
     ACTION ITEMS:                     CT has retained the current log, Retain Date: 11/25/2020, Expected Purge Date:
                                       11/30/2020

                                       Image SOP

                                       Email Notification, Non Employee Litigation Target gl.legal@target.com

     SIGNED:                           C T Corporation System
     ADDRESS:                          1999 Bryan St Ste 900
                                       Dallas, TX 75201-3140
     For Questions:                    877-564-7529
                                       MajorAccountTeam2@wolterskluwer.com




                                                                              Page 1 of 1 / NM
                                                                              Information displayed on this transmittal is for CT
                                                                              Corporation's record keeping purposes only and is provided to
                                                                              the recipient for quick reference. This information does not
                                                                              constitute a legal opinion as to the nature of action, the
                                                                              amount of damages, the answer date, or any information
                                                                              contained in the documents themselves. Recipient is
                                                                              responsible for interpreting said documents and for taking
                                                                              appropriate action. Signatures on certified mail receipts
                                                                              confirm receipt of package only, not contents.

                                                                                                                                   24
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 25 of 36 Page ID #:25




                        EXHIBIT “D”

                                                                          25
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 26 of 36 Page ID #:26




 1   THE HAHN LEGAL GROUPAPC
     ADRIENNE R. HAHN, SBN 136569
 2   ahahn@hahnlegalgroup.com
     ADAM C. ZAMOST, SBN 305655
 3   azamost@hahnlegalgroup.com
     2361 Rosecrans Avenue, Suite 373
 4   El Segundo, California 90245
     T:(310)706-3400/F:(310)706-3440
 5
 6   Attorneys for Defendant
     TARGET CORPORATION
 7
 8                         UNITED STATES DISTRICT COURT

 9             CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
10
11
      MARIA GAVILANES, an                     CASE NO:
12    individual,
                                              The Hon.
13                  Plaintiff,                Magistrate Judge:

14       vs.                                  DECLARATION OF ADRIENNE R.
                                              HAHN
15    TARGET CORPORATION, a
      Minnesota corporation; DOES 1
16    through 50, inclusive,

17                  Defendants.

18
19   I, ADRIENNE R. HAHN, certify and declare as follows:
20         1.     I am an attorney duly licensed to practice law in the State of
21   California and before this Honorable Court. I am a Partner at The Hahn Legal
22   GroupAPC, counsel of record for Defendant TARGET CORPORATION.
23         2.     My business address is 2361 Rosecrans Avenue, Suite 373, El
24   Segundo, California 90245, which is located in the city, county and state where the
25   mailing described below took place.
26         3.     I have personal knowledge of the following facts and would and could
27   testify to them if called upon to do so, with the exception of those matters stated on
28

                                                      DECLARATION OF ADRIENNE R. HAHN
                                                                               Case No.
                                                                                         26
                                              Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 27 of 36 Page ID #:27




                                                 1   information and belief, and as to those matters I believe them to be true.
                                                 2   4.    Plaintiff MARIA GAVILANES (“Plaintiff”) resides in California. A true
                                                 3   and correct copy of the conformed Complaint, which was filed in the Superior
                                                 4   Court of California, County of San Bernardino, is attached as Exhibit “A” to
                                                 5   TARGET CORPORATION’S Notice of Removal of Action.
                                                 6         5.     Defendant TARGET CORPORATION (“Defendant”) is a Minnesota
                                                 7   corporation with its principal place of business in Minnesota. A true and correct
                                                 8   copy of the Statement of Information for Defendant filed with the Secretary of
                                                 9   State is attached hereto as Exhibit “1.”
                                                10         6.     According to Plaintiff’s Statement of Damages, as of November 19,
                                                11   2020, her medical specials were $50,000.00. Plaintiff also seeks recovery for future
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                                12
    THE HAHN LEGAL GROUP APC




                                                     medical specials in the amount of $500,000.00, loss of earnings to date of
    2361 Rosecrans Avenue, Suite 373
        El Segundo, California 90245




                                                13   $50,000.00, loss of future earning capacity of $500,000.00, and possibly property
                                                14   damage totaling $25,000.00. Plaintiff further contends she is making claims for
                                                15   general damages, including $1,000,000.00 for pain, suffering, and inconvenience,
                                                16   and $1,000,000.00 for emotional distress.
                                                17
                                                18         I declare under penalty of perjury under the laws of the United States of
                                                19   America that the foregoing is true and correct and that this Declaration is executed
                                                20   on December 23, 2020, at El Segundo, California.
                                                21
                                                22
                                                                                            ADRIENNE R. HAHN, Declarant
                                                23
                                                24
                                                25
                                                26

                                                27
                                                28
                                                                                                2
                                                                                                     DECLARATION OF ADRIENNE R. HAHN
                                                                                                                              Case No.
                                                                                                                                   27
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 28 of 36 Page ID #:28




                         EXHIBIT “1”

                                                                          28
             Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 29 of 36 Page ID #:29

                                                                                                           F
                               State of California
                                   Secretary of State
                               Statement of Information                                                                          FR82190
                                       (Foreign Corporation)
                            FEES (Filing and Disclosure): $25.00.                                                                  FILED
                         If this is an amendment, see instructions.                                                In the office of the Secretary of State
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                          of the State of California
1. CORPORATE NAME
                                                                                                                               OCT-24 2017
     TARGET CORPORATION




2. CALIFORNIA CORPORATE NUMBER
                                                                    C0536463                                                This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 13.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                  CITY                             STATE       ZIP CODE
1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                             CITY                             STATE       ZIP CODE


6.    MAILING ADDRESS OF THE CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                             STATE       ZIP CODE
1000 NICOLLET MALL, TPS 3155, MINNEAPOLIS, MN 55403
6.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS



Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
 BRIAN C CORNELL            1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
8.    SECRETARY                                ADDRESS                                              CITY                             STATE       ZIP CODE
DON H LIU         1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
9.    CHIEF FINANCIAL OFFICER/                 ADDRESS                                              CITY                             STATE       ZIP CODE
CATHY R SMITH           1000 NICOLLET MALL, MINNEAPOLIS, MN 55403
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 11 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 11 must be left blank.
10. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]

 CT CORPORATION SYSTEM
11. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                              STATE       ZIP CODE



Type of Business
12. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
RETAIL MERCHANDISING
13. THE INFORMATION CONTAINED HEREIN IS TRUE AND CORRECT.

 10/24/2017            DAVID L DONLIN                                             ASSISTANT SECRETARY
      DATE               TYPE/PRINT NAME OF PERSON COMPLETING FORM                          TITLE                                 SIGNATURE
SI-350 (REV 01/2013)                                                                                                         APPROVED BY SECRETARY OF STATE

                                                                                                                                                      29
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 30 of 36 Page ID #:30




                        EXHIBIT “E”

                                                                          30
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 31 of 36 Page ID #:31




 1   THE HAHN LEGAL GROUPAPC
     ADRIENNE R. HAHN, SBN 136569
 2   ahahn@hahnlegalgroup.com
     ADAM C. ZAMOST, SBN 305655
 3   azamost@hahnlegalgroup.com
     2361 Rosecrans Avenue, Suite 373
 4   El Segundo, California 90245
     T:(310)706-3400/F:(310)706-3440
 5

 6   Attorneys for Defendant
     TARGET CORPORATION
 7

 8                    SUPERIOR COURT OF THE STATE OF THE CALIFORNIA

 9                                 COUNTY OF SAN BERNARDINO

10

11    MARIA GAVILANES, an individual,                CASE NO: CIVDS2010176
                                                     Complaint Filed: 05/29/2020
12                  Plaintiff,                       Hon. Wilfred J. Schneider, Jr., Dept. “S32”

13         vs.

14    TARGET CORPORATION, a Minnesota                NOTICE OF REMOVAL TO FEDERAL
      corporation; DOES 1 through 50, inclusive,     COURT
15
                    Defendants.
16

17

18

19   TO: THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

20           PLEASE TAKE NOTICE that on December 23, 2020, Defendant TARGET

21   CORPORATION filed a Notice of Removal to Federal Court.                     Attached hereto are the

22   documents filed in the United States District Court, Central District, Eastern Division:

23           Exhibit A:            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.

24                                 §1441(A) AND (B) [DIVERSITY OF CITIZENSHIP

25                                 JURISDICTION]

26           Exhibit B:            CIVIL COVER SHEET, SUPPLEMENTAL CIVIL COVER

27                                 SHEET;

28   ///

                                  NOTICE OF REMOVAL TO FEDERAL COURT

                                                                                                     31
                                              Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 32 of 36 Page ID #:32




                                                 1
                                                           Exhibit C:           CERTIFICATION AND NOTICE OF INTERESTED PARTIES;
                                                 2
                                                                                and
                                                 3
                                                           Exhibit D:           NOTICE TO ADVERSE PARTY OF REMOVAL TO FEDERAL
                                                 4
                                                                                COURT.
                                                 5

                                                 6   DATED: December 23, 2020               THE HAHN LEGAL GROUPAPC
                                                 7

                                                 8                                    By:
                                                                                            ADRIENNE R. HAHN,
                                                 9                                          Attorneys for Defendant
                                                                                            TARGET CORPORATION
                                                10

                                                11
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                                12
    THE HAHN LEGAL GROUP APC
    2361 Rosecrans Avenue, Suite 373
        El Segundo, California 90245




                                                13

                                                14

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                                                                           NOTICE OF REMOVAL TO FEDERAL COURT
                                                                                              2
                                                                                                                            32
                                 Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 33 of 36 Page ID #:33




                                               1                                                PROOF OF SERVICE
                                               2   I am over the age of 18 and am not a party to this action or cause. I am a resident of or employed in the County of
                                                   Los Angeles. My business address is 2361 Rosecrans Avenue, Suite 373, El Segundo, California 90245.
                                               3
                                                   On December 23, 2020, I served a copy of the following documents:
                                               4
                                                                              NOTICE OF REMOVAL TO FEDERAL COURT
                                               5
                                                   by enclosing them in an envelope and
                                               6       (     ) [U.S. MAIL] depositing the sealed envelope with the United States Postal Service, with the postage
                                                                 fully prepaid on the date and at the city and state shown below, or
                                               7
                                                      (      )   placing the sealed envelope for collection and mailing on the date and at the place shown below,
                                              8                  following our ordinary business practices. I am readily familiar with this business’ practice for
                                                                 collecting and processing correspondence for mailing. On the same day that correspondence is placed
                                               9                 for collection and mailing, it is deposited in the ordinary course of business with the United States
                                                                 Postal Service in a sealed envelope with postage fully prepaid, or
                                              10      (      )   [EXPRESS MAIL] depositing the sealed envelope in a post office, mailbox, subpost, office,
                                                                 substation, mail chute or other like facility regularly maintained by the United States Postal Service
                                              11                 for receipt of Express Mail, together with an unsigned copy of this declaration, with Express Mail
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                                                 postage fully prepaid, or
                                              12
    THE HAHN LEGAL GROUPAPC
    2361 Rosecrans Avenue, Suite 373




                                                      (      )   [EXPRESS SERVICE CARRIER] depositing the sealed envelope in a box, substation, or other
        El Segundo, California 90245




                                              13                 facility regularly maintained by ( ) FEDERAL EXPRESS, ( ) UPS, ( ) DHL, an express service
                                                                 carrier, or delivering to a courier or driver authorized by said express service carrier to receive
                                              14                 documents; or
                                                      (      )   [FACSIMILE] by transmitting the aforementioned documents via facsimile from a facsimile
                                              15                 transmission device at phone number (310) 706-3440, with an unsigned copy of this declaration, to the
                                                                 recipient(s) set forth below at the phone numbers noted therein. The foregoing facsimile transmission
                                              16                 was reported as complete without error by a transmission report issued by the device upon which the
                                                                 said transmission was made immediately following the transmission. A true and correct copy of the
                                              17                 said transmission report is attached hereto; or

                                              18      (      )   [PERSONAL SERVICE] causing such envelope to be delivered by hand to the recipient(s) identified
                                                                 below, at the address(es) set forth therein.
                                              19
                                                      ( X )      [ELECTRONIC MAIL] by transmitting the aforementioned documents via electronic mail as an
                                              20                 attachment from my business email address to a known email address for the recipient set forth below.

                                              21   The foregoing envelope was addressed and mailed to the address(es) below, or delivered by hand at the address(es)
                                                   below if personally served, or the documents were transmitted via facsimile machine to:
                                              22
                                              23      ( X )      and to additional parties and/or counsel listed in the attached service list.

                                              24
                                                   I declare under penalty of perjury under the laws of the State of California that the above is
                                              25   true and correct.
                                                   Executed on December 23, 2020, in El Segundo, California.
                                              26
                                                                     Brandi Rosales
                                              27
                                                                      BRANDI ROSALES
                                              28


                                                                                                 PROOF OF SERVICE

                                                                                                                                                                33
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 34 of 36 Page ID #:34

                                   SERVICE LIST
   Mr. Hussein A. Chahine
   Mr. Eric H. Godoy
   CHAHINE LAW, APC
   714 W. Olympic Blvd., Suite 940
   Los Angeles, CA 90015
   T: (213)746-4000/F: (213)746-4006
   E-Mail: hac@socalinjurylawyers.com
   E-Mail: eric@chahinelaw.com
   Attorneys for Plaintiff MARIA GAVILANES




                                 PROOF OF SERVICE


                                                                          34
Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 35 of 36 Page ID #:35




 1   THE HAHN LEGAL GROUPAPC
     ADRIENNE R. HAHN, SBN 136569
 2   ahahn@hahnlegalgroup.com
     ADAM C. ZAMOST, SBN 305655
 3   azamost@hahnlegalgroup.com
     2361 Rosecrans Avenue, Suite 373
 4   El Segundo, California 90245
     T:(310)706-3400/F:(310)706-3440
 5

 6   Attorneys for Defendant
     TARGET CORPORATION
 7

 8                         UNITED STATES DISTRICT COURT
 9
            CENTRAL DISTRICT OF CALIFORNIA – EASTERN DISTRICT
10

11    MARIA GAVILANES, an                     CASE NO: Case No. 5:20-cv-20-02645
12
      individual,
                    Plaintiff,                The Hon. Judge
13                                            Magistrate Judge:
14
         vs.

15
      TARGET CORPORATION, a                   CERTIFICATE OF SERVICE
      Minnesota corporation; DOES 1
      through 50, inclusive,                  [Pursuant to L.R.5-3.2.1]
16

17
                    Defendants.

18

19   I, Brandi Rosales, certify and declare as follows:
20         I am over the age of 18 years and not a party to this action.
21         My business address is 2361 Rosecrans Avenue, Suite 373, El Segundo,
22   California 90245, which is located in the city, county and state where the mailing
23   described below took place.
24         On December 23, 2020, I electronically filed and electronically served the
25   following document pursuant to Local Rule, Rule 5-3.2.1: NOTICE OF
26   REMOVAL OF ACTION UNDER 28 U.S.C. §1441(A) AND (B) [DIVERSITY
27   OF CITIZENSHIP JURISDICTION]; 28 U.S.C §1446; 28 U.S.C. §1332.
28                                             1

                                                                  CERTIFICATE OF SERVICE
                                                                    Case No. 5:20-cv-20-02645
                                                                                         35
                                              Case 5:20-cv-02645-MWF-SHK Document 1 Filed 12/23/20 Page 36 of 36 Page ID #:36




                                                 1
                                                           Said document was served upon the following parties, via electronic email I
                                                2
                                                     sent to the following addressees, through their attorneys of record, as follows:
                                                3

                                                4    Mr. Hussein A. Chahine
                                                     Mr. Eric H. Godoy
                                                5    CHAHINE LAW, APC
                                                     714 W. Olympic Blvd., Suite 940
                                                6    Los Angeles, CA 90015
                                                     T: (213)746-4000/F: (213)746-4006
                                                7    E-Mail: hac@socalinjurylawyers.com
                                                     E-Mail: eric@chahinelaw.com
                                                8    Attorneys for Plaintiff MARIA
                                                     GAVILANES
                                                9

                                               10
                                                           Further, pursuant to Local Rule, Rule 5-3.2.1,” Service. Upon the electronic
                                                11
                                                     filing of a document, a “Notice of Electronic Filing” (“NEF”) will be automatically
Phone: (310) 706-3400 | Fax: (310) 706-3440




                                               12
    THE HAHN LEGAL GROUPAPC
    2361 Rosecrans Avenue, Suite 373




                                                     generated by the CM/ECF System and sent by e-mail to: (1) all attorneys who have
        El Segundo, California 90245




                                                13
                                                     appeared in the case in this Court and who have consented to receive service
                                               14
                                                     through the CM/ECF System, and (2) all pro se parties who have been granted
                                                15
                                                     leave to file documents electronically in the case pursuant to L.R. 5-4.1.1 or who
                                               16
                                                     have appeared in the case and are registered to receive service through the
                                                17
                                                     CM/ECF System pursuant to L.R. 5-3.2.2. Unless service is governed by
                                               18
                                                     F.R.Civ.P. 4 or L.R. 79-5.3, service with this electronic NEF will constitute service
                                               19
                                                     pursuant to the Federal Rules of Civil and Criminal Procedure, and the NEF itself
                                               20
                                                     will constitute proof of service for individuals so served.
                                               21
                                                           I declare and certify under penalty of perjury that the foregoing is true and
                                               22
                                                     correct. Executed on December 23, 2020, at El Segundo, California.
                                               23

                                               24                                     By:    Brandi Rosales
                                                                                             Brandi Rosales
                                               25

                                               26

                                               27

                                               28
                                                                                                2
                                                                                                                   CERTIFICATE OF SERVICE
                                                                                                                     Case No. 5:20-cv-20-02645

                                                                                                                                        36
